Case 2:17-cv-02477-DSF-SK Document 358 Filed 02/01/24 Page 1 of 2 Page ID #:23360




                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA




      JOSE NAVARRO,                        2:17-cv-2477-DSF-SK
          Plaintiff,
                                           Order DENYING Without
                      v.                   Prejudice Motions for Attorneys
                                           Fees and Costs (Dkts. 356, 357)
      EXXONMOBIL CORPORATION,
      et al.,
              Defendants.



           Defendants move for attorneys’ fees and costs. Plaintiff’s
      opposition is not yet due. The motions are DENIED without
      prejudice.

           Plaintiff has appealed the Judgment.

           Federal Rule of Civil Procedure 54 sets out the basic procedures
      for requesting attorneys’ fees. The Advisory Committee Notes state:

           If an appeal on the merits of the case is taken, the court
           may rule on the claim for fees, may defer its ruling on the
           motion, or may deny the motion without prejudice,
           directing under subdivision (d)(2)(B) a new period for filing
           after the appeal has been resolved. A notice of appeal does
           not extend the time for filing a fee claim based on the
           initial judgment, but the court under subdivision (d)(2)(B)
           may effectively extend the period by permitting claims to be
           filed after resolution of the appeal. A new period for filing
           will automatically begin if a new judgment is entered
Case 2:17-cv-02477-DSF-SK Document 358 Filed 02/01/24 Page 2 of 2 Page ID #:23361




           following a reversal or remand by the appellate court or the
           granting of a motion under Rule 59.

     Fed. R. Civ. P. 54(d)(2) advisory committee’s note to 1993 Amendments.

           District courts within the Ninth Circuit have exercised their
     discretion to deny fee motions without prejudice pending an appeal on
     the merits. See, e.g., Env’t Def. Ctr. v. Bureau of Ocean Energy Mgmt.,
     No. CV 16-8418 PSG (FFMx), 2019 WL 10786009 (C.D. Cal. Oct. 28,
     2019); Dufour v. Allen, No. 2:14- CV-5616 CAS (SSx), 2015 WL
     12819170 (C.D. Cal. Jan. 26, 2015). The Court finds that to be the best
     approach. In light of the pending appeal, the Court denies the motions
     without prejudice.

          The motions may be renewed after the Ninth Circuit resolves the
     pending appeal.

        IT IS SO ORDERED.



      Date: February 1, 2024                ____________________________
                                            ___________________________
                                            D l S
                                            Dale S. Fi  h
                                                    Fischer
                                            United States District Judge




                                        2
